IN THE DISTRICT COURT OF THE UNITED STATES FOR THE                     

   MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION                       


DONALD RAY WHITE,               )                                         
                             )                                         
  Petitioner,                )                                         
                             )       CIVIL ACTION NO.                  
  v.                         )         2:19cv474-MHT                   
                             )              (WO)                       
UNITED STATES OF AMERICA,       )                                         
                             )                                         
  Respondent.                )                                         

                          ORDER                                        
  This   cause    is   now   before   the    court   on   the          
petitioner's notice of appeal (doc. no. 9), which the                     
court is treating as a motion to proceed on appeal in                     
forma pauperis.                                                           
  28 U.S.C. § 1915(a)(3) provides that "[a]n appeal                    
may not be taken in forma pauperis if the trial court                     
certifies   in   writing   that   it  is  not   taken  in   good          
faith."  In making this determination as to good faith,                   
a court must use an objective standard, such as whether                   
the  appeal   is  "frivolous,"   Coppedge   v.  United  States,           
369   U.S.   438,   445  (1962),    or  "has   no   substantive           
merit."  United States v. Bottoson, 644 F.2d 1174, 1176                   
(5th Cir. Unit B May 15, 1981) (per curiam); see also                     
Rudolph   v.  Allen,  666  F.2d   519,  520  (11th  Cir.   1982)          

(per curiam); Morris v. Ross, 663 F.2d 1032 (11th Cir.                    
1981).  Having considered the grounds set forth in the                    
notice of appeal, this court is of the opinion that the                   
petitioner's appeal is without a legal or factual basis                   

and,  accordingly,    is  frivolous   and  not  taken   in  good          
faith.     See,  e.g.,  Rudolph   v.  Allen,  supra;   Brown  v.          
Pena, 441 F. Supp. 1382 (S.D. Fla. 1977), aff'd without                   
opinion, 589 F.2d 1113 (5th Cir. 1979).                                   

                           ***                                         
  Accordingly,    it  is  ORDERED   that  the   petitioner's           
motion   to   proceed   on   appeal   in   forma   pauperis   is          

denied; and that the appeal in this cause is certified,                   
pursuant   to  28  U.S.C.   §  1915(a)(3),   as  not   taken  in          
good faith.                                                               
  DONE, this the 29th day of August, 2019.                             

                              /s/ Myron H. Thompson                    
                           UNITED STATES DISTRICT JUDGE                